Case 1:12-CV-OO418-.]|\/|S-BI\/|K Document 1-1 Filed 07/25/12 Page 1 of 2 Page|D #: 9

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

PETER B. NOTTAGE, JR, and
JENNIFER A. NOTTAGE,

Plaintiffs,
vs.

THE BANK OF NEW YORK l\/IELLON,
A NEW YORK CORPORATION, AS
TRUSTEE FOR THE
CERTIFICATEHOLDERS CWl\/[BS,
INC., CHL MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES
2006-21; COUNTRYWIDE HOME
LOANS, INC.; BANK OF AMERICA,
N.A.; MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.;
JOHN DOES l-50; JANE DOES 1-50;
DOE PARTNERSHIPS 1-50; DOE
CORPORATIONS l-SO; DOE ENTITIES
l-50; and DOE GOVERNMENTAL
UNITS l-50,

Defendants.

 

 

CIVIL N().

DECLARATION OF PATRICA J.
MCHENRY

DECLARATION ()F PATRICIA J. MCHENRY

I, PATRICIA J. MCHENRY, declare under penalty of law that the following

is true and correct:

l. l am competent to make this declaration, and do so based upon

personal knowledge, unless otherwise stated as upon information and belief.

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2. I am an attorney at Cades Schutte, representing Defendants Bank of
New York Mellon as Trustee for the Certiticateholders CWMBS, lnc., CHL
Mortgage Pass-Through Trust 2006-21, Mortgage Pass-Through Certificates,
Series 2006-21 (“BUNY”); Countrywide Home Loans, Inc. (“CHL”); Bank of
America, N.A. (“BANA”); and Mortgage Electronic Registration Systems, Inc.
(“MERS”) (collectively, “Defendants”) in the above entitled action.

3. Defendants seek removal of this action.

4. Attached to the Notice of Removal as Exhibit l is a true and correct

copy of the Complaint that Was served on Defendants on or about June 26, 2012.

5. Upon information and belief, Exhibit 1 constitutes all process,

pleadings, and orders that have been served on Defendants in this action to date.

6. Attached hereto as Exhibit 2 is a true and correct copy of the relevant
section of the online National Bank List maintained by the Ofiice of the
Comptroller of the Currency, Which reflects that BANA is headquartered in

Charlotte, North Carolina.

DATED: Honolulu, HI, July 25, 2012.

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PATRICIA J. MCHENRY /

